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EASTERN DIVISION
UNITED STATES OF AMERICA, §
ll
Plaintiff, §
§ Civ. No. 04»1302-T/An
VS. ij Crim. No. 02-lOOO7-l-T
l
JACK RAY AUSTIN, §
ll
Defendant. §

 

ORDER DENYING MOTION TO PROCEED ]N FOR]MA PA UPER]S
ORDER DENYING MOTION PURSUANT TO 28 U.S.C. § 2255
ORDER DENYING CERTIFICATE OF APPEALABILITY
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Defendant Jack Ray Austin, Bureau of Prisons inmate registration number 18877-
076, an inmate at the Federal Correctional lnstitution in Memphis, filed a pro se motion
pursuant to 28 U.S.C. § 2255 on November 17, 2004. Austin’s motion Was accompanied
by a document, entitled “Out of Time Motion for Relief from an Illegal Sentence Pursuant
to 28 U.S.C. § 2255,” and a motion seeking leave to proceed informer pauperis. As no
filing fee is assessed on § 2255 motions, the in forma pauperis motion is DENIED as
unnecessary.

On January 28, 2002, a federal grand jury returned a four-count indictment against
Austin and a codefendant, Tyree Shauntize I-Iicks a/k/a Tyree Marlow. The first count

charged that, on or about January 8, 2002, Austin and Hicks, aided and abetted by each

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with Fiu|e 58 and,'or,?g (a) FRCP on LQ ' g l 0

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other, took from the person and presence of another approximately $2680.()1 belonging to
the Union Planters Bank by force, violence and intimidation, and assaulted and put in
jeopardy the life of another person by the use of a dangerous Weapon, in violation of 13
U.S.C. §§ 21 13(a) & (d) and 2. The second count charged that Austin and Tyree, aided and
abetted by each other, brandished a firearm during the armed bank robbery alleged in count
1, in violation of 18 U.S.C. §§ 924(c)(4) and 2. The third count charged that, on or about
October 26, 2001, Austin took from the person and presence of another approximately
$10,244 belonging to the Union Planters Bank by f`orce, violence and intimidation, and
assaulted and put in jeopardy the life of another person by the use of a dangerous Weapon,
in violation of 1 8 U.S.C. §§ 21 13(a) & (d). The fourth count charged that Austin brandished
a firearm during the armed bank robbery alleged in count 3, in violation of 18 U.S.C.
§ 924(c)(4). Pursuant to a Written plea agreement, Austin entered a plea of guilty to counts
1 and 2 ofthe indictment on June 7, 2002

The Court conducted a sentencing hearing on January 3, 2003, at Which time Austin
Was sentenced to consecutive terms of imprisonment of 66 months on count 1 and 84
months on count 2, to be followed by a 5-year period of supervised release. Counts 3
through 4 of the indictment Were dismissed at the sentencing hearing on the motion of the
Government. Judgment Was entered on January 8, 2003. Austin did not take a direct appeal

On September 17, 2004, Austin filed a document in his closed criminal case, entitled

“Judicial Notice of Intent in re Blakelv v. Washington, 124 S. Ct. 2531 (2004),” in which

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he stated his intent to file a motion at some time in the future seeking relief on the basis of
the Supreme Court’s decision in M<_e_ly. Austin filed a § 2255 motion on November 17,
2004 in which he asserts that he is entitled to relief on the basis of _Bla_l<ely.

The Antiterrorism and Effective Death Penalty Act of 1996, Pub. L. No. 104-132,
l 10 Stat. 1214 (Apr. 24, 1996) (codifled, inter alia, at 28 U.S.C. § 2244 et seq.)
(‘*AEDPA”), created a statute of limitations for filing motions under § 2255. Because this
petition was filed after Apri124, 1996, the AEDPA is applicable E Lindh v. Mu;phy, 521
U.S. 320, 336 (1997). As a threshold matter, the Court should consider the effect of the
statute oflimitations on defendant’s claims. Holloway v. Corcoran, 980 F. Supp. 160, 161
(D. Md. 1997), app. dismisseth5 161 F.3d 1155 (4th Cir. 1998); Bronaugh v. Ohio, 235 F.3d
280 (6th Cir. 2000).

The relevant portion of 28 U.S.C. § 2255 provides:

A l-year period of limitation shall apply to a motion under this section.
The limitation period shall run from the latest of+#

(1) the date on which the judgment of conviction becomes
final;

(2) the date on which the impediment to making a motion
created by governmental action in violation of the
Constitution or laws of the United States is removed, if
the movant was prevented from making a motion by
such governmental action;

(3) the date on which the right asserted was initially
recognized by the Supreme Court, if that right has been
newly recognized by the Supreme Court and made
retroactively applicable to cases on collateral review; or

(4) the date on which the facts supporting the claim or
claims presented could have been discovered through the
exercise of due diligence

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“[F]or purposes of collateral attack, a conviction becomes final at the conclusion of
direct review.” Johnson v. United States, 246 F.3d 655, 657 (6th Cir. 2001). When a
defendant does not take a direct appeal, then, “an unappealed district court judgment of
conviction becomes ‘final’ ten days after the entry of judgment, at least where the defendant
has not actually sought an extension of appeal time for good cause or excusable neglect.”
Sanchez-Castellano v. United States, 358 F.3d 424 (6th Cir. 2004)', sw United States
v. Cottage, 307 F.3d 494, 499 (6th Cir. 2002) (“when a § 2255 movant does not pursue a
direct appeal to the court of appeals, his conviction becomes final either on the date that the
judgment was entered . . . or on the date on which the time for filing such appeal expired”;
describing the latter as the “majority view”); Chandler v. United States, 22 Fed. Appx. 399,
400 (6th Cir. Sept. 25, 2001).

ln this case, judgment was entered on January 8, 2003. Austin’s conviction became
final no later than January 23, 2003, the last day on which he could have filed a notice of
appeal. Fed. R. App. P. 4(b)(1)(A)(i) & 26(a). This motion was purportedly signed on
November 12, 2004 and, even if it is deemed to have been filed on that date, g _H_<M
M, 487 U.S. 266 (1988), l\/iiller v. Collins, 305 F.3d 491, 497-98 & n. 8 (6th Cir.
2002), and Towns v. United States, 190 F.3d 468, 469 (6th Cir, 1999) (§ 2255 motion), it

is clearly time barred.l

 

l lt is necessary to address briefly two issues pertinent to this analysis First, the date of filing is not

September 14, 2004, the date on which Austin signed his irregular “.l udicial Notice of Intent,” as that document on
its face indicated only that the defendant would, at some point in the future, seek relief under Blakely. The
document does not mention § 2255. Pursuant to Castro v. United States, 540 U.S. 375 (2003); Martin v. Perez, 319

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lt is also necessary to consider whether the limitations period is subject to equitable
tolling in this case. In Dunlap v. United States, 250 F.3d 1001, 1004 (6th Cir. 2001), the
Sixth Circuit held that the one-year limitations period applicable to § 2255 motions is a
statute of limitations subject to equitable tolling. Five factors are relevant to determining
the appropriateness of equitably tolling a statute of limitations:

(l ) the petitioner’ s lack of notice of the filing requirement; (2) the petitioner’ s

lack of constructive notice of the filing requirement; (3) diligence in pursuing

one’s rights; (4) absence of prejudice to the respondent; and (5) the

petitioner’ s reasonableness in remaining ignorant of the legal requirement for

filing his claim.
l_cL at 1008.2

ln this case, Austin asserts that he is entitled to equitable tolling because his attorney

failed to advise him that he has viable claims under Apprendi v. New Jersey, 530 U.S. 466

 

(2000), and Blal<ely. As a preliminary matter, the decision in Blakely had not been issued

during counsel’s representation of Austin, and an attorney does not render ineffective

 

F.3d 799, 805 (6th Cir. 2003); and ln re Shelton, 295 F.3d 620, 622 (6th Cir. 2002), a pleading or motion that is not
specifically designated as a § 2255 motion should not be recharacterized as such unless the defendant agrees or is
given the opportunity to withdraw the document after being warned of the consequences of the recharacterization.
Shelton, 295 F.3d at 622.

Section 2255 provides that the limitations period begins to run from the la_teit of the four specified
circumstances Austin presumably would contend that the subsection (3) is applicable here, and that the limitations
period commenced running on “the date on which the right asserted was initiain recognized by the Supreme Court,
if that right has been newly recognized by the Supreme Court and made retroactively applicable to cases en
collateral review.” ln Tyler v. Cain, 533 U.S. 656, 662 (2001), the Supreme Court held that a new rule is “made
retroactive to cases on collateral review” only if the Supreme Court specifically holds it to be retroactively
applicable to cases on collateral review. As the Supreme Court did not hold that Blakely is retroactively applicable
to cases on collateral review, § 2255(3) does not apply; therefore, the limitations period began to run when Austin’s
conviction became final.

2 This five-factor standard is identical to the test used to determine whether equitable tolling is appropriate
in other contexts, including employment discrimination cases. Amini v. Oberlin Coliege, 259 F.3d 493, 500 (6th
Cir. 2001) (citing Dunlap); Truitt v. Countv of Wavne, 148 F.3d 644, 648 (6th Cir. 1998).

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assistance by failing to predict the future development of constitutional law. Lucas v.
Ole_a, 179 F.3d 412, 420 (6th Cir. 1999). Accordingly, trial counsel did not render
ineffective assistance by failing to anticipate the Supreme Court’s decision in _My.3
Austin also is not entitled to equitable tolling even if it is assumed that counsel
erroneously failed to advise him that he could raise an Apprendi issue. The Sixth Circuit has
stated that “equitable tolling relief should be granted only sparingly.” A_rnini, 259 F.3d at
500; see also Vroman v. Brigano, 346 F.3d 598, 604 (6th Cir. 2003); Jurado v. Burt, 337
F.3d 638, 642 (6th Cir. 2003).
Typically, equitable tolling applies only when a litigant’s failure to meet a
legally-mandated deadline unavoidably arose from circumstances beyond that
litigant’s control. . . . Absent compelling equitable considerations, a court
should not extend limitations by even a single day.
Graham-Humphrevs v. Memphis Brooks Museum` lnc., 209 F.3d 552, 560-61 (6th Cir.
2000); see also King v. United States, 63 Fed. Appx. 793, 795 (6th Cir. l\/iar. 27, 2003)',
Johnson v. U.S. Postal Serv., No. 86-2189, 1988 WL 122962 (6th Cir. Nov. 16, 1988)
(refusing to apply equitable tolling when m g litigant missed filing deadline by one day).
rl`hus, ignorance of the law by pro se litigants does not toll the limitations period. §r,i_c§_L

Jamrog, 79 Fed. Appx. 110, 112 (6th Cir. Oct. 23, 2003); Harrison v. l.l\/I.S., 56 Fed. Appx.

682, 685-86 (6th Cir. Jan. 22, 2003)', i\/lillerv. Cason, 49 Fed. Appx. 495, 497 (6th Cir. Sept.

 

3 The Sixth Circuit stated in Lucas that “counsel‘s failure to raise an issue whose resolution is clearly

foreshadowed by existing decisions might constitute ineffective assistance of counsel,” L, although it also stated
that “‘[o]nly in a rare case’ will a court find ineffective assistance of counsel based upon a trial attomey's failure to
make an objection that would have been overruled under the then-prevailing law,” § (citation omitted). To the
extent Austin contends that the Supreme Court’s decision in Blakely was foreshadowed by Apprendi, Austin is not
entitled to relief for the reasons stated infra

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27, 2002) (“l\/liller’s lack of knowledge of the law does not excuse his failure to timely file
a habeas corpus petition.”); Brown v. United States, 20 Fed. Appx. 373, 374 (6th Cir. Sept.
21, 2001) (“lgnorance of the limitations period does not toll the limitations period.”); _cf_.
Jlr_a__@, 337 F.3d at 644-45 (lawyer’s mistake is not a proper basis for equitable tolling).“l
ln this case, Austin contends that his attorney rendered ineffective assistance by
failing to advise him that he had a viable Apprendi argument5 Even if it is assumed that
counsel should have raised Apprendi issues at the sentencing hearing or on direct appeal,
those fact do not excuse Austin’s failure to file a timely § 2255 motion. As a prisoner has
no Sixth Amendment right to counsel in collateral attacks on his conviction, the ineffective
assistance of his former attorney does not serve to excuse his late filing. §§ Coleman v.
'1`hompson, 501 U.S. 722, 752-54 (1991) (no right to counsel in collateral challenges to a
conviction, so attorney error does not excuse late-filed postconviction petition); c_f. Edwards
v. Car+oenter, 529 U.S. 446 (2000) (ineffective assistance of counsel claim that serves to
excuse procedural default could itself be procedurally defaulted). Accordingly, the motion

is time barred, and Austin is not entitled to equitable tolling.

 

4 See also Cobas v. Burgess, 306 F.3d 441 (6th Cir. 2002) (“Since a petitioner does not have a right to
assistance of counsel on a habeas appeal . . . , and because an inmate’s lack of legal training, his poor education, or
even his illiteracy does not give a court reason to toll the statute of limitations . . . , we are loath to impose any
standards of competency on the English language translator utilized by the non-English speaking habeas
petitioner.”).

5 The specifics of the Apprendi argument Austin contends counsel should have raised are not clearly
articulated in his motion. Austin pled guilty to brandishing a firearm during an armed bank robbery, and the fact of
that guilty plea precludes Austin from arguing that he did not possess a real gun. Moreover, nothing in 18 U.S.C.

§ 924(0) requires that the firearm at issue be identified by make, model, and caliber.

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Even if Austin’s motion were timely, his B_la_l@y claim would still be subject to
dismissal.6 “As a general rule, new constitutional decisions are not applied retroactively to
cases that were finalized prior to a new Supreme Court decision.” Goode v. United States,
305 F.3d 378, 383 (6th Cir. 2002); § Schriro v. Summerlin, 124 S. Ct. 2519, 2522-26
(2004) (holding that decision in Ring v. Arizona, which held that a sentencing judge in a
capital case may not find an aggravating factor necessary for imposition of the death penalty,
and that the Sixth Amendment requires that those circumstances be found by a jury, does not
apply retroactively to cases on collateral review); Teague v. Lane, 489 U.S. 288 (1989).
Applying these standards, the Sixth Circuit has held that issues raised under My and
United States v. Booker, 125 S. Ct. 758 (2005), cannot be raised in an initial motion
pursuant to 28 U.S.C. § 2255. Humr)hress v. United States. 398 F.3d 855, 860-63 (6th Cir.
2005). Accordingly, Austin’s motion, to the extent that it relies on My and B_ooker, is
without merit and is dismissed

The motion, together with the files and record in this case “conclusively show that

the prisoner is entitled to no relief.” 28 U.S.C. § 2255; see also Rule 4(b), Rules Governing

 

§ 2255 Proceedings. Therefore, the Court finds that a response is not required from the
United States Attorney and that the motion may be resolved without an evidentiary hearing.

United States v. Johnson, 327 U.S. 106, 111 (1946); Baker v. United States, 781 F.2d 85,

 

6 ln a subsequent decision issued since this motion was filed, which Austin has not cited but which the
Court will consider sua sponte, the Supreme Court held that the mandatory aspects of the sentencing guidelines are
unconstitutional United States v. Booker, 125 S. Ct. 758 (2005).

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92 (6th Cir. 1986). Accordingly, defendant’s motion pursuant to 28 U.S.C. § 2255 is
DENIED.

Consideration must also be given to issues that may occur if the defendant files a
notice of appeal. Twenty-eight U.S.C. § 2253(a) requires the district court to evaluate the
appealability of its decision denying a § 2255 motion and to issue a certificate of
appealability (“COA”) only if “the applicant has made a substantial showing of the denial
ofa constitutional right.” 28 U.S.C. § 2253(c)(2)', M Fed. R. App. P. 22(b); LM
Ohio Adult Parole Auth., 105 F.3d 1063, 1073 (6th Cir. 1997) (district judges may issue
certificates of`appealability under the AEDPA). No § 2255 movant may appeal without this
certificate

In Slack v. McDaniel, 529 U.S. 473, 483-84 (2000), the Supreme Court stated that
§ 2253 is a codification ofthe standard announced in Barefoot v. Estelle, 463 U.S. 880, 893
(1983), which requires a showing that “reasonable jurists could debate whether (or, for that
matter, agree that) the petition should have been resolved in a different manner or that the
issues presented were “‘adequate to deserve encouragement to proceed further.’ ” M, 529
U.S. at 484 (quoting Barefoot, 463 U.S. at 893 & n.4).

The Supreme Court recently cautioned against undue limitations on the issuance of
certificates of appealability:

[O]ur opinion in _S_M held that a COA does not require a showing that the

appeal will succeed Accordingly, a court of appeals should not decline the

application of a COA merely because it believes the applicant will not
demonstrate an entitlement to relief. The holding in Slack would mean very

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little if appellate review were denied because the prisoner did not convince a
judge, or, for that matter, three judges, that he or she would prevail. lt is
consistent with § 2253 that a COA will issue in some instances where there
is no certainty of ultimate relief. After all, when a COA is sought, the whole
premise is that the prisoner “‘has already failed in that endeavor.”’
l\/liller-El v. Cockrell, 537 U.S. 322, 337 (2003) (quoting Barefoot, 463 U.S. at 893). Thus,

[a] prisoner seeking a COA must prove “‘something more than the absence of
frivolity”’ or the existence of mere “good faith” on his or her part. . . . We do
not require petitioners to prove, before the issuance of a COA, that some
jurists would grant the petition for habeas corpus. Indeed, a claim can be
debatable even though every jurist of reason might agree, after the COA has

been granted and the case has received full consideration, that petitioner will
not prevail.

id at 338 (quoting Barefoot, 463 U.S. at 893); signing id at 342 (cautioning courts against
conflating their analysis of the merits with the decision of whether to issue a COA: “The
question is the debatability of the underlying constitutional claim, not the resolution of that
debate.”).?

in this case, the defendant’s claim is clearly time barred and not cognizable in a
§ 2255 motion; therefore, he cannot present a question of some substance about which
reasonable jurists could differ. The Court therefore DENIES a certificate of appealability

The Sixth Circuit has held that the Prison Litigation Reform Act of 1995, 28 U.S.C.
§ l915(a)-(b), does not apply to appeals of orders denying § 2255 motions. Kincade v.

Sparkman, 117 F.3d 949, 951 (6th Cir. 1997). Rather, to appeal in forma pauperis in a

 

7 By the same token, the Supreme Court also emphasized that “[o]ur holding should not be misconstrued

as directing that a COA always must issue.” id at 337. Instead, the COA requirement implements a system of
"differential treatment of those appeals deserving of attention from those that plainly do not.” _lgl_._

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§ 2255 case, and thereby avoid the 8255 appellate filing fee required by 28 U.S.C. §§ 1913
and 1917, the prisoner must obtain pauper status pursuant to Federal Rule of Appellate
Procedure 24(a). KM_ad_e, 1 17 F.3d at 952. Rule 24(a) provides that a party seeking pauper
status on appeal must first file a motion in the district court, along with a supporting
affidavit Fed. R. App. P. 24(a)(1). However, Rule 24(a) also provides that if the district
court certifies that an appeal would not be taken in good faith, or otherwise denies leave to
appeal informer pauperis, the prisoner must file his motion to proceed informerr pauperis in
the appellate court. M Fed. R. App. P. 24(a) (4)-(5).

in this case, for the same reasons the Court denies a certificate of appealability, the
Court determines that any appeal would not be taken in good faith. lt is therefore
CERTIFIED, pursuant to Fed. R. App. P. 24(a), that any appeal in this matter is not taken
in good faith, and leave to appeal informer pauperis is DENIED. Accordingly, if movant
files a notice of appeal, he must also pay the full 8255 appellate filing fee or file a motion
to proceed in forma pauperis and supporting affidavit in the Sixth Circuit Court of Appeals
within thirty (30) days.

-rf`,
tr rs so oRDERED this 39 day orrune, 2005.

fhwa SrM

JAME§?D. ToDD
UNIT D sTATEs Dlsrrucr JUDGE

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` STATES DSTRICT OURT - WESTER DISCTRIT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
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.lack Ray Austin

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Honorable .l ames Todd
US DISTRICT COURT

